             Case 1:05-cv-00043 Document 87 Filed 11/03/08 Page 1 of 2

                                                                                      FILED
                                                                                         Ctorlr
                                                                                      DWlrctCoun



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                                                                             BY
                                                                                      t~eputy-rlr)
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN MARIANA ISLANDS

ANTONIO S. CAMACHO                               ) Civil Action No. 05-0043
                                                 1
               Plaintiff,                        )
                                                 )
                 vs.                             )
                                                 1
COMMONWEALTH OF THE                              ) DISSOLUTION OF WRIT OF
NORTHERN MARIANA ISLANDS,                        ) EXECUTION
DEPARTMENT OF PUBLIC LANDS,                      )
successor to the Marianas Public Lands           1
Authority, and DEPARTMENT OF                     )
PUBLIC WORKS,                                    )
                                                 )
               Defendants.                       1
                                                 1


       UPON MOTION of the Plaintiff Antonio S. Camacho wherein said Plaintiff states that all

amounts due under the Writ of Execution issued by the Court on October 27, 2008 in this Civil Case

No. 05-0043 have been paid to Plaintiff through the assistance of the United States Marshals Service,

and for good cause shown:



       The WRIT OF EXECUTION issued by this Court on October 27, 2008 is hereby

DISSOLVED, and all persons, entities and institutions holding property of the Defendants CNMI

Department of Public Lands and CNMI Department of Public Works shall allow said Defendants

access to such property unfettered by the Judgment and Writ of Execution as issued in this Civil

Case No. 05-0043.
                   Case 1:05-cv-00043 Document 87 Filed 11/03/08 Page 2 of 2


                                                 So ORDERED on this   44day of November, 2008.
                                                 JUDGE, UNITED STATES DISTRICT COURT FOR
                                                 THE NORTHERN MARIANA ISLANDS




                                                 By:
                                                       Hon. ALEX R. M m O N , JUDGE




1600-01 -081 103-Dissolution Writ of Execution




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